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                        IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION
__________________________________________
                                            )
J.O.P., et al.,                             )
                                            )
                Plaintiffs,                 )
                                            )
        v.                                  ) Case No. 8:19-cv-01944-SAG
                                            )
U.S. DEPARTMENT OF HOMELAND                 )
SECURITY, et al.                            )
                                            )
                Defendants.                 )
__________________________________________)


            DEFENDANTS’ RESPONSE TO THE COURT’S JULY 3, 2025 ORDER

       Pursuant to this Court’s July 3, 2025 order (ECF 317) directing Defendants to “advise as

to the amount of time they would need to give Class Counsel notice if and when Cristian is returned

to the United States,” Defendants will do their best to obtain the information and provide notice of

Cristian’s return without undue delay, with the intent to provide notice within forty-eight hours

upon Cristian’s return to the United States, if not earlier.

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Dated: July 7, 2025                Respectfully submitted,


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                                    Civil Division

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                                    /s/Erhan Bedestani
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                              CERTIFICATE OF SERVICE

       I hereby certify that on July 7, 2025, I served a copy of the foregoing on counsel for

Plaintiffs via the Court’s CM/ECF e-filing system.

                                                     /s/ Erhan Bedestani
                                                     Erhan Bedestani (MN Bar 0504824)
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